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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

 MICHAEL KENT, Individually and On                   )
 Behalf of All Others Similarly Situated,            )
                                                     )
                         Plaintiff,                  )   Case No. ______________
                                                     )
         v.                                          )   JURY TRIAL DEMANDED
                                                     )
 WESCO AIRCRAFT HOLDINGS, INC.,                      )   CLASS ACTION
 RANDY J. SNYDER, DAYNE A. BAIRD,                    )
 THOMAS M. BANCROFT III, PAUL E.                     )
 FULCHINO, JAY L. HABERLAND, SCOTT                   )
 E. KUECHLE, ADAM J. PALMER,                         )
 ROBERT D. PAULSON, JENNIFER M.                      )
 POLLINO, TODD RENEHAN, and                          )
 NORTON A. SCHWARTZ,                                 )
                                                     )
                         Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on August 9, 2019 (the

“Proposed Transaction”), pursuant to which Wesco Aircraft Holdings, Inc. (“Wesco” or the

“Company”) will be acquired by Wolverine Intermediate Holding II Corporation (“Parent”) and

Wolverine Merger Corporation (“Merger Sub,” and together with Parent, “Wolverine”). Parent

and Merger Sub are indirect subsidiaries of funds managed and advised by Platinum Equity

Advisors, LLC.

       2.      On August 8, 2019, Wesco’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger
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Agreement”) with Wolverine.        Pursuant to the terms of the Merger Agreement, Wesco’s

stockholders will receive $11.05 in cash for each share of Wesco common stock they own.

       3.      On September 13, 2019, defendants filed a proxy statement (the “Proxy Statement”)

with the United States Securities and Exchange Commission (the “SEC”) in connection with the

Proposed Transaction, which scheduled a stockholder vote on the Proposed Transaction for

October 24, 2019.

       4.      The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Proxy Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of Wesco common stock.




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       9.      Defendant Wesco is a Delaware corporation and maintains its principal executive

offices at 24911 Avenue Stanford, Valencia, California 91355. Wesco’s common stock is traded

on the New York Stock Exchange under the ticker symbol “WAIR.”

       10.     Defendant Randy J. Snyder is Chairman of the Board of the Company.

       11.     Defendant Dayne A. Baird is a director of the Company.

       12.     Defendant Thomas M. Bancroft III is a director of the Company.

       13.     Defendant Paul E. Fulchino is a director of the Company.

       14.     Defendant Jay L. Haberland is a director of the Company.

       15.     Defendant Scott E. Kuechle is a director of the Company.

       16.     Defendant Adam J. Palmer is a director of the Company.

       17.     Defendant Robert D. Paulson is a director of the Company.

       18.     Defendant Jennifer M. Pollino is a director of the Company.

       19.     Defendant Todd Renehan is a Chief Executive Officer and a director of the

Company.

       20.     Defendant Norton A. Schwartz is a director of the Company.

       21.     The defendants identified in paragraphs 10 through 20 are collectively referred to

herein as the “Individual Defendants.”

                               CLASS ACTION ALLEGATIONS

       22.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of Wesco (the “Class”). Excluded from the Class are defendants herein and any

person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

       23.     This action is properly maintainable as a class action.




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        24.     The Class is so numerous that joinder of all members is impracticable. As of

August 7, 2019, there were approximately 99,749,063 shares of Wesco common stock outstanding,

held by hundreds, if not thousands, of individuals and entities scattered throughout the country.

        25.     Questions of law and fact are common to the Class, including, among others,

whether defendants will irreparably harm plaintiff and the other members of the Class if

defendants’ conduct complained of herein continues.

        26.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        27.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

        28.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        29.     Wesco is one of the world’s leading distributors and providers of comprehensive

supply chain management services to the global aerospace industry.




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       30.     The Company’s services range from traditional distribution to the management of

supplier relationships, quality assurance, kitting, just-in-time delivery, chemical management

services, third-party logistics or fourth-party logistics, and point-of-use inventory management.

       31.     The Company believes it offers one of the world’s broadest portfolios of aerospace

products, including C-class hardware, chemicals and electronic components and comprised of

more than 550,000 active SKUs.

       32.     On August 8, 2019, Wesco’s Board caused the Company to enter into the Merger

Agreement with Wolverine.

       33.     Pursuant to the terms of the Merger Agreement, Wesco’s stockholders will receive

$11.05 in cash for each share of Wesco common stock they own.

       34.     According to the press release announcing the Proposed Transaction:

       Wesco Aircraft Holdings Inc. (NYSE: WAIR), one of the world’s leading
       distributors and providers of comprehensive supply chain management services to
       the global aerospace industry, today announced that it has entered into a definitive
       merger agreement to be acquired by an affiliate of Platinum Equity in a transaction
       valued at approximately $1.9 billion.

       Upon closing, Wesco will be combined with Platinum Equity portfolio company
       Pattonair, a provider of supply chain management services for the aerospace and
       defense industries based in the United Kingdom.

       Under the agreement, which has been unanimously approved by Wesco’s Board of
       Directors, Wesco shareholders would receive $11.05 per share in cash. The cash
       purchase price represents a premium of approximately 27.5 percent to the 90-day
       volume weighted average share price for the period ended May 24, 2019, the last
       trading day prior to media speculation regarding a potential transaction involving
       Wesco Aircraft.

       Wesco’s three largest shareholders, affiliates of The Carlyle Group and Makaira
       Partners, as well as the Snyder Family Trusts, support the transaction and have
       entered into voting and support agreements to vote their shares in favor of the
       transaction. . . .




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       Transaction Details

       The transaction will be financed through a combination of committed equity
       financing provided by affiliates of Platinum Equity Capital Partners IV, L.P., as
       well as debt financing that has been committed to by Bank of America Merrill
       Lynch.

       The transaction is expected to be completed by the end of calendar 2019 and is
       subject to Wesco shareholder approval, regulatory clearances and other customary
       closing conditions.

       Upon the completion of the transaction, Wesco will become a privately held
       company, and shares of its common stock no longer will be listed on any public
       market.

       Advisors

       Morgan Stanley & Co. LLC and J.P. Morgan Securities LLC are serving as
       financial advisors to Wesco, and Latham & Watkins LLP is providing legal counsel
       to Wesco. Hughes Hubbard & Reed LLP is providing M&A legal counsel to
       Pattonair, and Willkie Farr & Gallagher LLP is providing financing legal counsel
       to Pattonair.

       35.     The Merger Agreement contains a “no solicitation” provision that prohibits the

Individual Defendants from soliciting alternative proposals and severely constrains their ability to

communicate and negotiate with potential buyers who wish to submit or have submitted

unsolicited alternative proposals. Section 5.3(a) of the Merger Agreement provides:

       Except as expressly permitted by this Section 5.3, from and after the date hereof,
       the Company shall, and shall cause its Subsidiaries and Representatives to, (w)
       promptly cease and cause to be terminated any activities, solicitations, discussions
       or negotiations with any Third Party that may be ongoing with respect to any
       Acquisition Proposal or any inquiry or proposal that constitutes or could reasonably
       be expected to lead to any Acquisition Proposal, (x) promptly request (and in event
       within twenty-four (24) hours) any such Third Party to promptly return or destroy
       all confidential information concerning the Company and its Subsidiaries, (y)
       promptly (and in any event within six (6) hours) terminate all access previously
       granted to such persons to any physical or electronic data room and (z) except to
       the extent that the Company Board (or a duly authorized committee thereof)
       determines in good faith, after consultation with outside counsel, that a failure to
       agree to a waiver or amendment would reasonably be expected to violate its
       fiduciary duties to the stockholders of the Company under applicable Law, enforce,
       and not waive or amend (as applicable), any provisions of any Anti-Takeover Law



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   or confidentiality or standstill agreement (or any similar agreement) to which the
   Company or any of its Subsidiaries is a party relating to any Acquisition Proposal
   or proposal that would reasonably be expected to lead to an Acquisition Proposal
   or otherwise cause the terms of such agreement to be less restrictive than an
   Acceptable Confidentiality Agreement. Except as expressly permitted by this
   Section 5.3, from and after the date hereof until the receipt of the Company
   Stockholder Approval, or, if earlier, the termination of this Agreement in
   accordance with Article 7, the Company shall not, and shall cause its Subsidiaries
   and Representatives not to, directly or indirectly, (i) initiate, solicit, propose or
   knowingly facilitate, induce or encourage any inquiries with respect to, any effort
   or attempt to submit, or the submission of, any proposal or offer that constitutes or
   would reasonably be expected to lead to an Acquisition Proposal, including by way
   of furnishing any non-public information to any Third Party related to any potential
   Acquisition Proposal, or (ii) enter into, continue or otherwise participate or engage
   in any discussions or negotiations with respect thereto (other than informing any
   Third Party of the existence of the provisions contained in this Section 5.3), except
   that, the Company may ascertain facts from any Person making an Acquisition
   Proposal for the purpose of the Company Board clarifying the terms and conditions
   of such Acquisition Proposal and the Third Party making it in order to allow the
   Company Board to determine whether the Acquisition Proposal constitutes or
   would reasonably be expected to lead to a Superior Proposal, provided, that the
   foregoing shall not permit any negotiations or similar discussions with respect to
   such Acquisition Proposal or any verbal expression of the Company’s view or
   position with respect thereto. Except as expressly permitted by this Section 5.3,
   from and after the date hereof until the receipt of the Company Stockholder
   Approval, or, if earlier, the termination of this Agreement in accordance with
   Article 7, neither the Company Board nor any committee thereof shall, directly or
   indirectly, (i) approve, adopt or recommend, or publicly propose to approve, adopt
   or recommend, any Acquisition Proposal, (ii) fail to make, withdraw, or qualify (or
   change, amend or modify in a manner adverse to Parent or Merger Sub) the
   Company Board Recommendation or the adoption or declaration of advisability of
   this Agreement, the Merger or any of the other Transactions by the Company
   Board, (iii) approve or recommend, or publicly propose to approve or recommend,
   or cause or allow the Company or any of its controlled affiliates to enter into any
   merger agreement, letter of intent, memorandum of understanding, agreement in
   principle, option agreement, joint venture agreement, partnership agreement or
   other similar agreement relating to any Acquisition Proposal, (iv) fail to include the
   Company Board Recommendation in the Proxy Statement, (v) other than with
   respect to a tender offer or exchange offer, fail to publicly reaffirm its
   recommendation of this Agreement within ten (10) Business Days after Parent so
   requests in writing if an Acquisition Proposal or any modification thereto shall have
   been made public or sent or given to the Company’s stockholders (or any Person
   or group of Persons shall have publicly announced an intention, whether or not
   conditional, to make an Acquisition Proposal), (vi) fail to recommend, in a
   Solicitation/Recommendation Statement on Schedule 14D-9, against any
   Acquisition Proposal subject to Regulation 14D under the Exchange Act within ten



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       (10) Business Days after the commencement of such Acquisition Proposal, (vii)
       make any public statement inconsistent with the Company Board Recommendation
       or (viii) resolve or agree or announce its intention to resolve or agree to do any of
       the foregoing (any action set forth in the foregoing clauses (i) through (viii) of this
       sentence, a “Change of Board Recommendation”). Any breach by a Representative
       of the Company or any of its Subsidiaries of this Section 5.3 shall be deemed a
       breach hereof by the Company.

       36.    Additionally, the Company must promptly advise Wolverine of any proposals or

inquiries received from other parties. Section 5.3(c) of the Merger Agreement states:

       From and after the date hereof, the Company shall promptly (and in any event
       within twenty-four (24) hours) notify Parent in writing in the event that the
       Company receives any (i) Acquisition Proposal, (ii) inquiry or request for
       information from, or for the initiation of discussions or negotiations with, the
       Company or its Representatives concerning, or that could reasonably be expected
       to lead to, an Acquisition Proposal, or (iii) request for non-public information
       relating to the Company or any of its Subsidiaries or for access to the business,
       properties, assets, books, or records of the Company or any of its Subsidiaries by
       any Third Party who has made or communicated to the Company that it intends to
       make an Acquisition Proposal. The Company shall notify Parent promptly (and in
       any event within twenty-four (24) hours) of the identity of such Person and provide
       to Parent a copy of such Acquisition Proposal (or, where no such copy is available,
       a reasonable description of the material terms and conditions of such Acquisition
       Proposal, inquiry or request). Without limiting the foregoing, the Company shall
       promptly (and in any event within twenty-four (24) hours after such determination)
       advise Parent if the Company determines to begin providing information or to
       engage in discussions or negotiations concerning an Acquisition Proposal pursuant
       to Section 5.3(b). In addition, the Company shall keep Parent reasonably informed
       on a current basis (and in any event within twenty-four (24) hours) of any material
       changes to the status and any changes to material terms of any such Acquisition
       Proposal, inquiries or requests (and true and complete copies of any amended or
       modified written Acquisition Proposal, inquiry or request, including modified
       written proposed agreements), including any change in the Company’s intentions
       as previously notified.

       37.    Moreover, the Merger Agreement contains a “fiduciary out” provision permitting

the Board to change its recommendation of the Proposed Transaction under extremely limited

circumstances, and grants Wolverine a “matching right” with respect to any “Superior Proposal”

made to the Company. Section 5.3(d) of the Merger Agreement provides:




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   Notwithstanding anything to the contrary contained in Section 5.3(a), if (x) the
   Company has received a written Acquisition Proposal that has not been withdrawn
   and that the Company Board (or any duly authorized committee thereof) determines
   in good faith, after consultation with its independent financial advisors and outside
   counsel, constitutes (and continues to constitute) a Superior Proposal and (y) the
   Company Board determines in good faith, after consultation with its outside
   counsel, that failure to take such action in response to such Superior Proposal would
   violate the directors’ fiduciary duties to the stockholders of the Company under
   applicable Law, the Company Board may at any time prior to the receipt of the
   Company Stockholder Approval, (A) effect a Change of Board Recommendation
   with respect to such Superior Proposal and/or (B) terminate this Agreement
   pursuant to Section 7.1(d) in order to enter into a definitive written agreement with
   respect to such Superior Proposal, in either case subject to the requirements of this
   Section 5.3(d); provided, that the Company shall not be entitled to effect a Change
   of Board Recommendation pursuant to this Section 5.3(d) or terminate this
   Agreement pursuant to Section 7.1(d) unless all of the following conditions are met:

   (i) the Company shall have provided to Parent at least four days’ prior written notice
   (the “Notice Period”) of the Company’s intention to effect a Change of Board
   Recommendation or to terminate this Agreement pursuant to Section 7.1(d), which
   notice shall specify in reasonable detail the material terms and conditions of such
   Superior Proposal and the identity of the Person or group of Persons making such
   Superior Proposal and the Company Board’s reasons for intending to effect a
   Change of Board Recommendation or to terminate this Agreement pursuant to
   Section 7.1(d) and shall have provided to Parent a copy of the latest draft of the
   proposed transaction agreement to be entered into in respect of such Superior
   Proposal and all other material proposed transaction documents (if any) relating to
   such Superior Proposal;

   (ii) during the Notice Period, if requested by Parent, the Company shall have, and
   shall have caused its Representatives and legal and financial advisors to have,
   engaged in good faith negotiations with Parent regarding any amendment to this
   Agreement proposed in writing by Parent and intended to cause the relevant
   Superior Proposal to no longer constitute a Superior Proposal;

   (iii) the Company Board shall have considered in good faith any adjustments and/or
   amendments that Parent, in its sole discretion, shall have proposed with respect to
   this Agreement (including a change to the price terms hereof) and the other
   agreements contemplated hereby that may be irrevocably offered in writing by
   Parent (the “Proposed Changed Terms”) no later than 11:59 a.m., New York City
   time, on the last day of the Notice Period and shall have determined in good faith,
   after consultation with its independent financial advisor and outside counsel, that
   such Proposed Changed Terms would continue to render the failure by the
   Company Board to make such Change of Board Recommendation a violation of its
   fiduciary duties to the stockholders of the Company under applicable Law or that
   the Superior Proposal would continue to constitute a Superior Proposal if such



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        Proposed Changed Terms were to be given effect (it being understood and agreed
        that in the event that the Company Board shall have determined in good faith, after
        consultation with its independent financial advisor and outside counsel, that such
        Proposed Changed Terms would render the failure by the Company Board to make
        such Change of Board Recommendation no longer a violation of its fiduciary duties
        under applicable Law or would render such Superior Proposal no longer a Superior
        Proposal, the Company shall agree in writing to all Proposed Changed Terms and
        the Company’s notice of the proposed Change of Board Recommendation or the
        termination of this Agreement shall be deemed to be rescinded and of no further
        force and effect);

        (iv) the Company shall have complied with its obligations under this Section 5.3
        (other than de minimis non-compliance) with respect to such Superior Proposal;
        and

        (v) prior to or concurrently with any termination of this Agreement, the Company
        shall have paid the Company Termination Fee to Parent.

        In the event of any substantive revisions to such Superior Proposal offered in
        writing by the party making such Superior Proposal, the Company shall be required
        to deliver a new written notice to Parent within 24 hours and to again comply with
        the requirements of this Section 5.3(d) with respect to such new written notice,
        except that the Notice Period shall be reduced to three (3) Business Days with
        respect to any such revised Superior Proposal.

        38.    The Merger Agreement also provides for a “termination fee” of $39 million payable

by the Company to Wolverine if the Individual Defendants cause the Company to terminate the

Merger Agreement.

The Proxy Statement Omits Material Information, Rendering It False and Misleading

        39.    Defendants filed the Proxy Statement with the SEC in connection with the Proposed

Transaction, which scheduled a stockholder vote on the Proposed Transaction for October 24,

2019.

        40.    As set forth below, the Proxy Statement omits material information with respect to

the Proposed Transaction, which renders the Proxy Statement false and misleading.

        41.    First, the Proxy Statement omits material information regarding the Company’s

financial projections.



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        42.     The Proxy Statement fails to disclose, for each set of projections: (i) all line items

used to calculate (a) adjusted net income, (b) adjusted EBITDA, (c) free cash flow, and (d)

unlevered free cash flow; and (ii) a reconciliation of all non-GAAP to GAAP metrics.

        43.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.

        44.     Second, the Proxy Statement omits material information regarding the analyses

performed by the Company’s financial advisors in connection with the Proposed Transaction,

Morgan Stanley & Co. LLC (“MS”) and J.P. Morgan Securities LLC (“JPM”).

        45.     With respect to MS’s Discounted Cash Flow Analysis, the Proxy Statement fails to

disclose: (i) all line items used to calculate unlevered free cash flow; (ii) the value of the tax benefit

from the amortization of intangible assets for the life of such assets; (iii) the individual inputs and

assumptions underlying the discount rates ranging from 6.9% to 8.4% and the perpetual growth

rate of 1.5%; (iv) the terminal values of the Company; and (v) the outstanding shares of Wesco

common stock on a fully diluted basis.

        46.     With respect to MS’s Hypothetical Leveraged Buyout Analysis, the Proxy

Statement fails to disclose MS’s basis for selecting the leverage multiple, financing terms, exit

multiple, target internal rate of return, and transaction expenses used in the analysis.

        47.     With respect to JPM’s Discounted Cash Flow Analysis, the Proxy Statement fails

to disclose: (i) all line items used to calculate unlevered free cash flow; (ii) the value of the tax

benefit from the amortization of certain intangible assets for the life of such assets; (iii) the terminal

values of the Company; and (iv) the individual inputs and assumptions underlying the range of




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discount rates from 8.25% to 9.25% and the perpetual growth rate ranging from 1.0% to 2.0%.

       48.     With respect to JPM’s Analyst Price Target analysis, the Proxy Statement fails to

disclose: (i) the price targets observed by JPM in the analysis; and (ii) the sources thereof.

       49.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       50.     Third, the Proxy Statement omits material information regarding potential conflicts

of interest of MS and JPM.

       51.     The Proxy Statement fails to disclose the timing and nature of the past services MS

provided to the Company, Platinum, and their affiliates.

       52.     The Proxy Statement fails to disclose the timing and nature of the past services JPM

provided to the Company and its affiliates.

       53.     The Proxy Statement fails to disclose the amount of compensation JPM received

for the past services it provided to The Carlyle Group, L.P. and its affiliates.

       54.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       55.     Fourth, the Registration Statement fails to disclose whether the Company entered

into any non-disclosure agreements that contained “don’t ask, don’t waive” provisions that are or

were preventing other potential acquirors from requesting waivers of standstill provisions to

submit offers to acquire the Company.

       56.     Without this information, stockholders may have the mistaken belief that, if these

potentially interested parties wished to come forward with a superior offer, they are or were




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permitted to do so, when in fact they are or were contractually prohibited from doing so.

       57.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading, including, inter alia, the following sections of the Proxy

Statement: (i) Background of the Merger; (ii) Recommendation of Our Board of Directors and

Reasons for the Merger; (iii) Fairness Opinion of Morgan Stanley & Co. LLC; (iv) Fairness

Opinion of J.P. Morgan Securities LLC; and (v) Certain Financial Projections.

       58.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

     Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
               Thereunder Against the Individual Defendants and Wesco

       59.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       60.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule 14a-9, in

light of the circumstances under which they were made, omitted to state material facts necessary

to make the statements therein not materially false or misleading. Wesco is liable as the issuer of

these statements.

       61.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       62.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       63.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on



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the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       64.     The Proxy Statement is an essential link in causing plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       65.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       66.     Because of the false and misleading statements in the Proxy Statement, plaintiff

and the Class are threatened with irreparable harm.

                                            COUNT II

                        Claim for Violation of Section 20(a) of the 1934 Act
                                Against the Individual Defendants

       67.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       68.     The Individual Defendants acted as controlling persons of Wesco within the

meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as officers

and/or directors of Wesco and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the false statements contained in the Proxy Statement, they had the

power to influence and control and did influence and control, directly or indirectly, the decision

making of the Company, including the content and dissemination of the various statements that

plaintiff contends are false and misleading.

       69.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause

them to be corrected.



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        70.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly involved

in the making of the Proxy Statement.

        71.    By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

        72.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and

proximate result of defendants’ conduct, plaintiff and the Class are threatened with irreparable

harm.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff prays for judgment and relief as follows:

        A.     Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

        B.     In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

        C.     Directing the Individual Defendants to disseminate a Proxy Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or

necessary to make the statements contained therein not misleading;




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       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: September 17, 2019                           RIGRODSKY & LONG, P.A.

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